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                          Exhibit 8
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            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF NEW YORK


             LEON D. BLACK,
                                                                                 Index No. ___
                                         Plaintiff,
                                                                                 COMPLAINT
                                   v.
                                                                             Jury Trial Demanded
             GUZEL GANIEVA AND WIGDOR LLP,

                                         Defendants.



                   Plaintiff Leon D. Black, by and through his undersigned attorneys, alleges on personal

            knowledge, except as noted or third-party sources are referenced:

                                              SUMMARY OF THE ACTION

                   1.      This matter arises out of the misconduct of three bad actors: (1) Defendant Guzel

            Ganieva, who previously had a consensual affair with Plaintiff Leon D. Black and has now, years

            after the fact and against a barrage of documentary evidence contradicting her claims, made false

            allegations that Plaintiff assaulted and abused her, in violation of a confidentiality and release

            agreement, under which Plaintiff had paid her millions; (2) Defendant Wigdor LLP, Ganieva’s

            attorneys, who procured her contractual breaches of a binding confidentiality agreement and used

            its public relations acumen and contacts to ensure that her violative and malicious disclosure of

            information she and Black contracted to keep confidential was broadly disseminated; and (3) Josh

            Harris, who Black designated as a co-founder of Apollo and who, in that capacity, undertook

            obligations of trust and loyalty to Plaintiff that are subject to arbitration. Among other things, their

            collective misconduct has cost Plaintiff the chairmanship of the company he founded, took public,

            and ran for some 30 years.




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                   2.      More specifically, the claims brought here arise out of a Release and Confidentiality

            Agreement (the “Agreement”) signed by Ganieva, which prohibits Ganieva from disclosing her

            relationship with Plaintiff and also releases all claims against him. A copy of the Agreement is

            attached as Exhibit 1 to this Complaint. Ganieva then ratified the Agreement over the course of

            almost six years by accepting payments from Black each month that together totaled more than $9

            million. She accepted these payments during the time that she was enrolled in law school, and

            while she was represented and advised by counsel. Ganieva, with the assistance and at the direct

            urging of Wigdor, breached these provisions. At the same time, well before Wigdor was engaged

            as her counsel, the firm used its press contacts to provide Ganieva with widespread media access

            that she had been unable to obtain on her own, assisting her in publicizing her relationship and

            breaching the Agreement .

                   3.      Wigdor and Ganieva did not stop there. To the contrary, after Wigdor was retained

            as Ganieva’s counsel, Wigdor then brought a complaint brimming with manufactured allegations

            that it later amended on two separate occasions. All the while, both Wigdor and Ganieva either

            knew, or intentionally chose to remain ignorant of the fact), upon information and belief, that

            Ganieva had signed the Agreement with Plaintiff, which barred the causes of action and the

            allegations asserted in all three complaints. Indeed, Wigdor amended Ganieva’s complaint twice

            even after counsel for Plaintiff cited the Agreement (including directly quoting all of the non-

            disclosure and release language) and provided evidence of the falsity of Ganieva’s claims,

            including quoting contemporaneous text messages that Ganieva sent Black.

                   4.      Under the Agreement, Black agreed to forgive outstanding loans he had made to

            Ganieva, provide her with additional support for a renewed round of immigration applications in

            the United Kingdom, and pay her additional consideration in the form of $100,000 per month for




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            15 years. In exchange, Ganieva agreed to (1) fully release any purported claims she had or might

            in the future have against Black and (2) keep her relationship with him strictly confidential.

                   5.      On March 17, 2021, Ganieva—a first-time Twitter user with only three followers,

            each a prominent member of the press—posted a series of tweets in which she falsely accused

            Black of sexual harassment and abuse. To make sure that Apollo would become aware of her

            missive, Ganieva referred to Black as “Apollo Global Management’s CEO and Chairman” and

            included the hashtag #LeonBlack. On information and belief, Wigdor induced, encouraged and

            assisted Ganieva to publicize this information, which violated the non-disclosure provisions in the

            Agreement.

                   6.      Following Ganieva’s public statements, and in light of the organized campaign

            against him, Black had no choice but to resign to protect Apollo, losing the considerable financial

            and other benefits he was entitled to as Chairman and CEO.

                   7.      Ganieva and Wigdor subsequently commenced litigation against Black in a bad-

            faith violation of the Agreement’s release and non-disclosure obligations. In June 2021, Wigdor—

            which was formally retained as Ganieva’s counsel in April 2021 but had been advising her since

            the preceding fall—filed the first of three objectively false complaints. Ganieva claimed, among

            other things, that Black had raped Ganieva in 2014, on a night when her own contemporaneous

            texts show that she invited him to visit, asked him to bring wine, and then professed love and

            gratitude to him the very next day.

                   8.      Wigdor markets itself as skilled in leveraging the specter of the litigation process

            to extract pre-complaint settlements. As Wigdor’s website states: “Because we have a reputation

            for obtaining multi-million dollar verdicts, we are able to settle the majority of our cases without

            the need for even filing complaints.” While widely known for its playbook of quietly trading away




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            purported claims before even filing a lawsuit, Wigdor curiously filed a scandalous public

            complaint in this case without ever making a settlement demand, and then persistently declined

            the repeated invitations from Plaintiffs’ counsel to review the records that would prove its client’s

            complete unreliability and disprove the allegations they publicly filed in the original complaint.

                   9.      The pattern continued: Plaintiff’s amended complaint added allegations based on

            an October 2008 flight to Florida—a supposed kidnapping to Jeffrey Epstein’s house—that

            contemporaneous flight records confirm never happened. Her second amended complaint added

            allegations about an unidentified Jane Doe who supposedly gave Black a massage at Epstein’s

            home more than 20 years ago and long before Ganieva ever met Black. Notably, Ganieva is

            recorded on tape years before she ever filed her lawsuit equivocating as to whether she had ever

            even met Epstein, let alone that their meeting was the result of any supposed “kidnapping” by

            Black. As for Jane Doe, she is someone whose fabricated story was included to further tarnish

            Black’s reputation. Black will demonstrate that these allegations are false, but succeeding in court

            was never Ganieva’s or Wigdor’s objective with these complaints. They were instead intended

            simply to harm and humiliate Black, as they did, resulting in his resignation from his positions at

            Apollo and from other high-profile positions he held at other institutions.

                   10.     Ganieva and Wigdor acted maliciously and with the intent to harm Black after

            Ganieva had already collected millions of dollars and effectively ratified her contractual promise

            not to inflict the precise harm caused here.

                                                           PARTIES

                   11.     Plaintiff Leon D. Black resides in New York County, in the State of New York.

            Black founded Apollo Global Management, Inc. in 1990 and since that time has been Apollo’s




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            largest shareholder. For more than 30 years, until March 21, 2021, Black served as Apollo’s CEO

            and as the Chairman of its Board of Directors.

                      12.   In addition to his work at Apollo, Black has spent the last three decades working as

            a dedicated philanthropist and one of our nation’s leading benefactors of the arts, education, and

            cancer research. He served for 20 years on the Board of Mt. Sinai Hospital, 15 years on the Board

            of the Metropolitan Museum of Art, and 10 years on the Board of Trustees of Dartmouth College.

            Black served as a Trustee of the Museum of Modern Art (“MoMA”) for approximately 25 years,

            and from 2016 to 2021 served as co-Chairman or Chairman of MoMA. He has also been one of

            MoMA’s most generous supporters. Some 14 years ago, Black and his wife, Debra, co-founded

            the Melanoma Research Alliance, which became the largest private funder of melanoma research

            in the world. The Melanoma Research Alliance has directly invested more than $130 million to

            advance cutting edge research into immunotherapy for melanoma and some 30 other forms of

            cancer.

                      13.   Guzel Ganieva is a Russian national who, on information and belief, resides in New

            York County, in the State of New York.

                      14.   Defendant Wigdor LLP is registered in New York State and maintains its principal

            place of business in New York County, in the State of New York. Wigdor was formally retained

            as counsel for Ganieva in April 2021, but was advising her on media related to her allegations

            against Black and other matters many months earlier.

                                             JURISDICTION AND VENUE

                      15.   The Court has personal jurisdiction pursuant to Civil Practice Law and Rules

            section 301, and venue is proper in this county pursuant to Civil Practice Law and Rules section

            503, because Plaintiff and Defendants reside in New York.




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                                              FACTUAL ALLEGATIONS

                                              Apollo Global Management

                   16.     Black founded Apollo, a Delaware corporation, in 1990 to manage investment

            capital on behalf of institutional investors, focusing on leveraged buyouts, corporate restructurings,

            and credit positions, as well as taking minority positions in growth-oriented companies.

                   17.     Black spearheaded Apollo’s phenomenal growth from a shared office in 1990 into

            one of the nation’s preeminent alternative asset managers. This success was the direct result of

            Black’s strategy of creating a contrarian, value-oriented investment approach to private equity,

            credit-oriented capital markets, real estate, and distressed investments.        Apollo compiled a

            stunning track record of investment success, including a gross internal rate of return of 39% in its

            traditional private equity funds from inception through December 31, 2020.

                   18.     Apollo was one of the first private equity companies to go public, and, as

            importantly, became the largest global alternative asset manager of credit platforms. In addition,

            Apollo was one of the first private equity firms to transition to permanent capital, building the

            Athene and Athora Holding Ltd. insurance platforms under the leadership of Marc Rowan and

            James Belardi. All of these transformative changes in the last 30 years were first-mover initiatives

            by Apollo under Black’s leadership, and they are now all broadly emulated by most of the other

            major players in the alternative investment world.

                                       Black’s Prior Relationship With Ganieva

                   19.     Black met Ganieva at a party that both attended in 2008. From 2008 until 2014,

            Black and Ganieva engaged in a sporadic, consensual affair.

                   20.     Ganieva’s communications with Black between 2008 and 2014 were marked by

            consistent expressions of love and affection on her part. Black paid for Ganieva’s apartment but

            never had the key. He also paid for her acting lessons, financed expensive vacations, paid for a


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            $40,000 portrait of her, and purchased a Steinway & Sons piano for her son. He made a series of

            loans to her, and attempted to assist her in finding employment in the finance industry.

                   21.       In July 2014, Ganieva told Black she needed to leave the country for immigration-

            related reasons, and departed for Russia on July 31, 2014. From the plane, Ganieva texted Black,

            “I love you and miss you already.” This was shortly after he supposedly raped her, according to

            her complaints. For the next eleven months, Ganieva sent texts to Black from abroad telling him

            that she missed him and longed to be together.

                   22.      On June 8, 2015, Ganieva sent Black a formally worded note insisting that she

            needed to meet with him in person about a matter that she characterized, without detail, as “both

            urgent and important.” Based on statements she later made to Black, this sudden shift in tone

            appears to have coincided with her failure to gain legal status in the United Kingdom.

                   23.      On June 24, 2015, Ganieva met Black in person in New York City. Ganieva

            threatened Black, telling him that if he did not pay her $100 million, she would disclose their

            personal and sexual relationship to the board of Apollo and to the media.

                   24.      Black understood Ganieva to be extorting him and recorded future conversations

            with Ganieva.

                   25.      On August 12, 2015, Ganieva met Black a restaurant in New York City. Ganieva

            again demanded money from Black, threatening that, “the longer I wait, the more sure I become

            that I actually, I prefer to go public,” and that, “I’m dying to talk to press about it.” Ganieva

            repeated her demand for $100 million.       She claimed that various prominent people—from

            international philanthropist Len Blavatnik to former New York Mayor Michael Bloomberg to

            ailing publisher and developer Mort Zuckerman—were following or harassing her at Black’s

            direction, musings that she herself suggested were paranoid. She somehow blamed Black for the




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            bullying her son received in school and camp, and even said Black was responsible for her son

            choking on a piece of meat at a restaurant.

                   26.     On August 14, 2015, Ganieva met Black at another restaurant in New York City.

            Ganieva again informed Black that “I will not agree to anything less than $100 million.” Ganieva

            justified her demand for $100 million by referencing a news report she saw about a woman who

            received $18 million when she was fired after sleeping with her boss, a “Wall Streeter,” on four

            occasions. Ganieva explained that, in her view, her demand for $100 million was justified because

            she believed her sporadic affair with Black was “like a marriage.” Never once in any of these

            conversations did Ganieva ever suggest that Black had raped her.

                   27.     Over the course of the next few months, Ganieva and Plaintiff discussed and

            negotiated the terms that would be contained in the Agreement. In particular, they negotiated the

            amount of payments that Plaintiff would make to Ganieva, settling on the monthly $100,000

            payments, loan forgiveness, and £2,000,000 lump sum payments that would appear in the final

            Agreement.

                   28.     On October 19, 2015, Ganieva again met Black at a restaurant in New York City.

            During that meeting, she reviewed and executed the Agreement at her own pace, raising several

            questions regarding the Agreement that Black answered.

                   29.     In the Agreement, Ganieva agreed to give up her claims and not to publicly disclose

            their affair. In exchange for her dropping her threats, Black agreed to pay Ganieva $100,000 per

            month for 15 years, forgive $1,000,000 in loans, and provide £2,000,000 for Ganieva to use toward

            obtaining legal status in the United Kingdom.

                   30.     The Agreement states that Ganieva “has made certain allegations and asserted

            certain claims against [Black], which she made under extreme stress and which she now concedes




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            are not true, and which allegations and claims, if made public, would damage [Black’s] career,

            reputation and relationships with others.” Exhibit 1.

                    31.     Ganieva also agreed to release all claims—past, present, or future—against Black

            relating to their relationship, and “never to disclose, directly or indirectly, to any individual, entity

            or other potential recipient, any information relating to (i) the allegations and claims that she has

            asserted against [Black], (ii) the signing, content or other attributes of this Agreement, including

            any consideration furnished by [Black] in connection with the signing of this Agreement and

            (iii) any other matters that could damage [Black’s] career, reputation and relationships with

            others.” Id.

                    32.     Contrary to Ganieva’s false allegations in her complaints, during the negotiations,

            Black never uttered the following phrases that Wigdor and Ganieva claim to be direct quotes: “If

            you do not take the money, I will put you in prison”; “If you do not take the money, I will destroy

            your life”; or “I will be paying you so long as you keep your mouth shut.” The recordings prove

            that.

                    33.     Instead, after taking the time to read the one-page agreement, Ganieva signed it and

            proceeded to discuss her investment and travel plans, laughing about the fact that she was now “a

            woman of means.” Shortly after leaving the meeting, Ganieva texted Black: “Thank you for

            everything. Talk soon xoxo.”

                    34.     In October 2019, after four years in which there was no direct contact between

            Black and Ganieva and during which she accepted the $100,000 payments each month, continually

            re-ratifying the Agreement, Ganieva sent Black a text message complaining about their

            arrangement, and falsely claiming that he had forced her to sign the Agreement under duress.

            Ganieva had never made that claim during the preceding four years. Black did not respond. He

            continued to pay her $100,000 per month, and Ganieva continued to accept the payments as she


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            had in the past, while attending law school and while represented by counsel, never once seeking

            to repudiate or void the Agreement.

                   35.     On February 18, 2020, David Liston, an attorney, sent Black a letter stating that

            Ganieva “has retained our firm to investigate certain matters related to your prior interactions with

            her and to advise and represent her in connection with same.” Liston sent a follow-up letter on

            March 6, 2020. Black, uncertain whether this was a legitimate demand from Ganieva’s counsel,

            and concerned about whether the request reflected a continuation of Ganieva’s extortion, did not

            respond. Black continued to pay Ganieva $100,000 per month, and Ganieva continued to accept

            the payments while represented by counsel.

                   36.     Recent press reports appear to shed light upon Ganieva’s conduct toward Black.

            On March 28, 2022, the Defence Intelligence of the Ministry of Defence of Ukraine published a

            list entitled “Employees of the FSB of Russia participating in the criminal activities of the

            aggressor country on the territory of Europe.” https://gur.gov.ua/content/sotrudnyky-fsb-rossyy-

            uchastvuiushchye-v-prestupnoi-deiatelnosty-stranyahressora-na-terrytoryy-evropy.html.

                   37.     The FSB (Federal Security Service of the Russian Federation) is the principal

            security agency of the Russian Federation, and one of the main successor agencies of the former

            Soviet Committee of State Security (KGB).

                   38.     Ukrainian intelligence has reportedly identified Number 139 on that list, an

            individual named Maria Gennadievna Guchapsheva, as Defendant Guzel Ganieva. On July 2,

            2022, an internet-based publication, the Estonian Free Press, reported that, with respect to Russia’s

            intelligence networks to destabilize Europe and the U.S., “one agent is GUCHAPSHEVA MARIA

            GENNADIEVNA. . . . She is also known as GUZEL KING, GUZEL GANIEVA, GUZEL

            GUPSCHEVA or GUZEL OGANEZOV.” Ukrainian intelligence exposes Russia’s networks to

            destabilize Europe and the US, Estonian Free Press (July 2, 2022), available at


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            https://estonianfreepress.com/intelligence/ukrainian-intelligence-exposes-russias-networks-to-

            destabilize-europe-and-the-us/. On September 23, 2022, journalist Dennis Rice reported in an

            internet-based publication, National Security News, that “Ganieva is one of the 620 FSB

            employees whose names appear in the list of Putin-controlled intelligence assets operating around

            the world. Ganieva’s alleged entry has her name slightly mis-spelled, and her date of birth is

            different. The Ukrainian intelligence service is, however, adamant she and the spy on the list are

            the same person.” Dennis Rice, A downed Wall Street tycoon, a furious and very public court

            battle, and now allegations of Russian espionage added into the mix, National Security News

            (Sept. 23, 2022), available at https://nationalsecuritynews.com/2022/09/a-downed-wall-street-

            tycoon-a-furious-and-very-public-court-battle-and-now-allegations-of-russian-espionage-added-

            into-the-mix/. Ukrainian press have also reported on certain of these allegations, attributing them

            to Ukrainian intelligence officials. See, e.g., FBI and Ukrainian military intelligence exposed a

            network of Russian spies in the United States, media reports, Censor.net (Sept. 29, 2022), available

            at

            https://censor.net/ua/photo_news/3370434/fbr_ta_ukrayinska_viyiskova_rozvidka_vykryly_mer

            eju_rosiyiskyh_shpyguniv_u_ssha_zmi_foto (“According to Ukrainian intelligence, Ganieva is

            number 139 on the list of 620 FSB agents.”). This reporting may provide context and explanation

            for Ganieva’s actions, including her relationship with Black, her monetary requests throughout

            their relationship, her extortion of Black that led to the Agreement, and finally her subsequent

            decision to breach the Agreement through ruinous public statements and lawsuits which resulted

            in significant disruption of Black’s personal life and career at Apollo.




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                                         Ganieva’s Engagement with Wigdor

                   39.     Prior to her involvement with Wigdor, Ganieva had repeatedly attempted to

            publicize details of her relationship with Black through contact with various journalists. None of

            these efforts were successful, on information and belief, because of reporters’ concerns that her

            allegations were unsubstantiated and potentially libelous.

                   40.     In addition, and as noted above, before working with Wigdor, Ganieva worked with

            at least one attorney, who was aware of the existence of the Agreement and who did not file any

            claims or make or support any public allegations that would have violated the Agreement’s terms.

                   41.     On October 12, 2020, The New York Times published a story detailing Black’s

            relationship with Jeffrey Epstein. The article, authored by Matthew Goldstein, reported that Black

            had paid Epstein “at least $50 million” and that “[i]t was not clear what kind of services

            Mr. Epstein provided to Mr. Black.”

                   42.     As early as September 29, 2020, Ganieva had initiated contact with Goldstein, the

            author of that article. Upon information and belief, Wigdor and Goldstein subsequently began

            communicating regarding Ganieva’s claims. This was despite the fact that, on information and

            belief, Wigdor already knew or should have known that Ganieva was subject to a valid release and

            confidentially agreement with Black. In speaking to the media on her behalf, encouraging her to

            make public statements about Black, and filing claims she had clearly released in exchange for

            millions of dollars, Wigdor induced Ganieva to, and helped her, repeatedly breach her agreement

            with Black.

                   43.     Once Wigdor began working with Ganieva, it facilitated a broad audience for her

            claims, paying no heed to the terms of the Agreement or the falsity of her allegations.

                   44.     On information and belief, Wigdor was motivated to publicize the case for its own

            self-promotion, namely, to obtain notoriety for the firm by publicizing a high-profile case against


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            a prominent individual such as Black. And it later did so—broadcasting its claims against Black

            on its website and in interviews—despite the fact that it knew that Ganieva had entered into the

            Agreement with Black and that she was prohibited by its terms from discussing her relationship

            with Black, or from bringing any claims against him.

                   45.     On October 1, 2020, Ganieva sent Goldstein a text message on WhatsApp, asking

            whether sharing her “story” anonymously was an option. Goldstein informed her, “[i]t is possible

            for us not to use your name but we would still need to document everything. All the text messages

            you have from Leon and would need to talk to any friends you talked to about the situation. We

            need to do that to assure the reader your story stands up and can be backed up by contemporaneous

            factors.”

                   46.     On October 30, 2020, Ganieva sent a WhatsApp message to Goldstein, stating:

            “Did you speak to Wigdor? He is reaching out about a reporter wanting to speak to me.” Ganieva’s

            message referred to Douglas Wigdor, the co-founder and principal of Wigdor LLP.

                   47.     Goldstein responded to Ganieva’s message about Wigdor, writing, “[w]e are

            supposed to talk. But not sure if there is another reporter on this too from another publication.”

            Goldstein continued, “[t]ho I’m pretty certain it’s me. Are you ok with him talking to me on

            background.”

                   48.     On November 5, 2020, Ganieva wrote to Goldstein, “I will let [W]igdor know that

            if you want to speak with him you can.”

                   49.     On November 10, 2020, Goldstein confirmed his plans to speak to Wigdor, writing

            to Ganieva, “[h]ey there. Talking to Wigdor tomorrow afternoon. He wanted to review his notes.

            Let’s talk on Wednesday if you are free or Thursday sorta wanted to wait until I spoke to Doug.”

                   50.     On November 16, 2020, Goldstein informed Ganieva, again via WhatsApp

            message, that he “[h]ad good chat with Wigdor over the weekend.”


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                    51.    On January 10, 2022, in connection with (now-dismissed) racketeering and other

            claims that Black brought in federal court against various parties, including Wigdor and Ganieva,

            Wigdor represented to the United States District Court for the Southern District of New York that

            it was “frivolous” for Black to argue that it had conspired with public relations professionals on

            Ganieva’s behalf as early as March 2021 (when Ganieva took to Twitter) because that was “before

            Ms. Ganieva ever retained Wigdor.” At that time, Wigdor represented that Ganieva formally

            retained the firm in April 2021. Thus, according to Wigdor, its communications with the press in

            the Fall of 2020 on behalf of Ganieva—who was not its client—were not within the scope of its

            duty as attorneys. Wigdor was not acting as Ganieva’s counsel when it spoke with the press about

            Ganieva’s relationship with Plaintiff, all the while knowing, upon information and belief, that

            Ganieva had signed an NDA. Wigdor also knew, on information and belief, that the Agreement

            was signed in a public place and was not entered into under duress, and that Ganieva had ratified

            the Agreement over the course of many years, including by accepting monthly payments until

            2021. Wigdor was actively communicating with Ganieva as early as October 2020 and was

            speaking with the press in a capacity other than as her counsel, an obvious violation of any NDA

            ever drafted. As such, Wigdor was inducing Ganieva to breach the Agreement as early as October

            2020.

                                       Ganieva’s False Public Statements About Black

                    52.    On or about March 11, 2021, the Twitter account @GuzelGanieva3 was created.

                    53.    Ganieva, with encouragement and help from Wigdor, on information and belief,

            composed a series of tweets in which she would publicly and falsely accuse Black of sexual abuse,

            threats, harassment, and other unlawful behavior.




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                   54.     Before Ganieva posted any tweets, only three other Twitter users, all of them

            prominent journalists, followed her account: Ronan Farrow of The New Yorker, Richard McHugh,

            then of NBC, and Matthew Goldstein of The New York Times.

                   55.     Given that Wigdor spoke with Matthew Goldstein on Ganieva’s behalf in

            November 2020 and Wigdor’s apparent role in encouraging and helping to draft the tweets, there

            is reason to believe that Wigdor and Goldstein discussed a plan for Ganieva to publicize her

            allegations via Twitter, where they would find a receptive audience with Goldstein, who could use

            his prominent outlet to amplify her false allegations.

                   56.     On March 17, 2021, Ganieva posted three tweets. The word choice and style of the

            tweets was decidedly unlike Ganieva’s typical voice and appears to invoke legal precepts. She

            posted: “Although I am a private person, in light of the recent media coverage, I think I have an

            obligation to make a statement regarding Apollo Global Management’s CEO and Chairman, Leon

            Black. I was sexually harassed and abused by him for years. It started in 2008 when I met with

            him to discuss work. While he understood my career aspirations, he could not understand me

            when I refused his sexual advances.       I was bullied, manipulated, threatened, and coerced.

            Similarly, under duress, I was forced to sign an NDA in 2015. I am breaking my silence now

            because I do not want this type of predatory behavior to continue happening to other women.

            #MeToo #LeonBlack.” On information and belief, Ganieva’s tweets were intended to pressure

            Apollo to remove Black as CEO and Chairman as soon as possible.

                   57.     Still, none of Ganieva’s three Twitter followers published anything in response to

            Ganieva’s false allegations. Similarly, Julie Brown of the Miami Herald, who was responsible for

            breaking the Epstein story, and to whom Ganieva emailed her false accusations on multiple

            occasions, including in the weeks before the tweets, published nothing. Neither did Jodi Kantor

            of The New York Times, whom Ganieva contacted in 2019. Ganieva may have been ready and


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            willing to violate the non-disclosure provisions of the Agreement on her own, but she was unable

            to do so in a way that would damage Black without assistance. Wigdor was critical to her actual

            breach.

                      58.   Black learned about Ganieva’s tweets shortly after March 17, 2021.

                      59.   Given the campaign against Black that began in Fall 2020 and was spurred on by

            Defendants, Black and Marc Rowan, his chosen successor, concluded that Apollo must be

            protected. On March 21, 2021, Black resigned as CEO, Director, and Chairman, forcing a

            transition ahead of schedule, and ending his tenure as Chairman. As a result, Black lost his

            position, health insurance, and other valuable benefits.

                      60.   On information and belief, Wigdor helped to arrange an interview of Ganieva by

            Josh Kosman, a reporter at the New York Post who was a regular target of Wigdor’s leaks. On

            April 8, 2021, Kosman published an “exclusive interview” with her. The New York Post article

            included Ganieva’s false claim that “Black’s abuse ‘was over a long period of time and it was

            tragic.’” This disclosure violated the Agreement. Wigdor has leaked information concerning

            Plaintiff to Kosman on other occasions. For example, Kosman contacted Plaintiff for comment on

            Ganieva’s filings before they had been publicly filed.

                      61.   On or about April 8, 2021, Black issued a statement regarding his relationship with

            Ganieva that said, “I foolishly had a consensual affair with Ganieva that ended more than seven

            years ago. Any allegation of harassment or any other inappropriate behavior towards her is

            completely fabricated.” Black also stated that Ganieva had extorted him for years and that he had

            “made substantial monetary payments to her, based on her threats to go public concerning our

            relationship, in an attempt to spare my family from public embarrassment.”




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                 Ganieva and Wigdor File a Series of False Complaints that Breach the Agreement

                   62.     On April 9, 2021, after Ganieva’s tweets and the day after the Kosman interview

            was published, Ganieva formally retained Wigdor. Given that Wigdor had been advising Ganieva

            since at least as early as October 2020, it is not clear why Wigdor and Ganieva waited until April

            2021 to execute a formal engagement letter, or whether anyone other than Ganieva was involved

            in that decision. The timing of the engagement—exactly one day after Ganieva’s disparaging

            remarks were published by Kosman—is noteworthy, given that Wigdor had already been advising

            Ganieva for at least five months.

                   63.     Upon information and belief, Wigdor waited until after Ganieva’s tweets and the

            Kosman interview were published to formalize its relationship with Ganieva because Wigdor knew

            that Ganieva’s tweets and comments to Kosman were in violation of her confidentiality and release

            agreement with Black. By officially coming on as Ganieva’s attorneys after her tweets and her

            interview, and by publicly proclaiming that it was not engaged as counsel until April 9, 2021, upon

            information and belief, Wigdor sought to conceal its role in having assisted Ganieva in her

            contractual breaches before that date. Indeed, Wigdor made repeated efforts to hide its prior

            involvement and that of its principal, Douglas Wigdor. For example, Wigdor stated in a September

            21, 2021, letter to Black’s counsel that “Doug Wigdor is not working on this case.” Wigdor

            likewise argued in a December 16, 2021 court filing that Wigdor’s conduct could not “ha[ve] any

            bearing on the veracity” of an April 8, 2021 statement by Black because “Wigdor LLP did not

            even represent Ms. Ganieva until after Black made his statement” (emphasis in original).

                   64.     Contrary to its usual protocol, Wigdor did not reach out to Black before filing

            Ganieva’s complaint, nor did it make a settlement demand. Wigdor would go on to file not one

            but three different versions of its baseless and fraudulent complaint on behalf of Ganieva. Each




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            version was laden with lies disproven by Ganieva’s own statements, which Black had recorded

            and preserved and offered to Wigdor for their review.

                   65.     Wigdor repeatedly declined to review these tapes and transcripts, claiming—

            falsely—that it did not sign routine protective orders that would protect confidentiality. In fact,

            the record demonstrates that Wigdor routinely signs such orders. See, e.g., Stipulation and Order,

            Kafenbaum v. Soulcycle Inc., 20-cv-06315 (AT) (OTW) (S.D.N.Y. Apr. 21, 2021); Stipulation and

            Order, Chase v. Reed Smith LLP, 20-CV-06121 (JPO) (S.D.N.Y. Jan. 28, 2021); Stipulation and

            Order for the Production and Exchange of Confidential Information, Mann v. MLB Advanced

            Media, L.P.¸ 651503/2018 (Sup. Ct. N.Y. County Aug. 23, 2018); Stipulation and Order for the

            Production and Exchange of Confidential Information, Town Total Holdings v. Conte,

            656194/2016 (Sup. Ct. N.Y. County Apr. 10, 2017). Its reluctance to do so in this case—even as

            it was filing three false complaints—supports the conclusion that Wigdor consciously avoided

            evidence that its client was entirely unreliable, and that it acted in bad faith and outside the scope

            of any legitimate duty to represent its client.

                   66.     On June 1, 2021, Ganieva and Wigdor filed the first of these complaints in New

            York Supreme Court, New York County. See Ganieva v. Black, No. 155262/2021 (N.Y. Sup. Ct.

            June 1, 2021) (“Original Complaint”). The Original Complaint asserted four claims: two for

            defamation based on Black’s public statement rebutting the tweets; a claim for intentional

            infliction of emotional distress based Black’s allegedly defamatory statement and extortion

            accusation; and a claim under the New York City Gender Motivated Violence Act (“GMVA”)

            based on a purported sexual assault. Id. ¶¶ 91-130.

                   67.     On information and belief, Wigdor encouraged or induced Ganieva to breach the

            release provisions in the Agreement by filing the Original Complaint, an action that no other

            attorney had taken.


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                    68.      The alleged assault supposedly took place seven years earlier, on July 6, 2014,

            when the Original Complaint alleges that Black “barged” into Ganieva’s apartment “suddenly”

            and without warning. Id. ¶ 47.1 Ganieva alleged that she was so unwell that she was “limp and

            unable to move.” Id. ¶¶ 47, 51. Ganieva made these allegations even though contemporaneous

            text messages show that she had invited Black to her apartment. Ganieva had texted Black,

            “Baby . . . I’m all alone. Let’s get together soon. I miss you. Xoxo,” and on the evening of July

            6, had asked Black to bring her a bottle of wine. See Answer, Ganieva v. Black, No. 155262/2021,

            ¶ 49 (N.Y. Sup. Ct. July 19, 2021) (“Answer”). The next morning, she thanked him and professed

            her love. Id.

                    69.      Within hours of Wigdor filing Ganieva’s Original Complaint, Kosman published

            yet another article quoting Ganieva’s false allegations at length. Kosman’s sources commented

            that the “silver lining” of Ganieva’s suit was that it did not “mention Epstein, and therefore doesn’t

            provide grounds for digging into matter pertaining to the dead pedophile.”

                    70.      Black’s Answer to the Original Complaint, filed on July 19, 2021, put the lie to the

            Original Complaint’s claims with Ganieva’s own words. A week before the supposed assault, on

            June 28, 2014, Ganieva sent the text suggesting she and Black should get together “soon.” Then,

            on July 6, 2014, earlier on the day of the supposed assault, it was Ganieva who wrote to Black,

            unsolicited: “This is love. I need you.” Answer ¶ 49. In response, Black said that he would be

            driving back to New York City the evening of July 6, and inquired if he could “come over and

            tuck you in at 10:30?” Id. Ganieva responded, “[a]aah. Can you please bring a bottle of wine if

            you can?” Id. He agreed.




            1
             The complaint was filed in June of 2021. Ganieva alleges that she was raped in July 2014, just barely within the
            seven-year limitations period for GMVA claims.


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                   71.     Ganieva reached out to Black first thing the following morning with a message of

            thanks and love: “Good morning. It was very nice to see you last night. I already feel better . . . I

            love you and thank you!!! Xoxoxoxoxo and more love.” Id. ¶ 52. And on July 9, she thanked

            Black again, asked if he wanted to get together, and sent “lots of love.” Id. ¶ 53. When Black did

            not respond, Ganieva reached out yet again the next day to try to get together. Id.

                   72.     Contrary to the claim in the Original Complaint that “[a]fter this rape, Ganieva took

            her son and left New York to physically distance herself from Black” (Original Compl. ¶ 55),

            Ganieva and Black saw each other several times, at her request, between July 6, when Black

            supposedly raped her, and July 30, when she texted him from the plane as she was departing: “I

            love you and miss you already” (Answer ¶ 58). Black’s Answer—entirely corroborated by

            contemporaneous text messages—exposed the allegation of sexual assault as false.

                   73.     Ganieva’s claims that Black defamed her in a public statement in which he

            accurately described her extortion were no less false. Ganieva’s extortion is captured on tape.

            Ganieva repeatedly warned that if Black did not pay her $100 million, she would report their affair

            to the Apollo Board, Black’s family, and the press. Her intent to harm Black’s relationship with

            Apollo was explicit.

                   74.     Ganieva also alleged that she was threatened by Black and that he forced her to sign

            the Agreement. Her Original Complaint offers supposed direct quotations from Black in this

            regard: “If you do not take the money, I will put you in prison,” and “[i]f you do not take the

            money, I will destroy your life.” Original Compl. ¶ 3; see also id. ¶ 63. Black’s recordings of his

            conversations with Ganieva demonstrate the falsity of these claims. There are no such threats, nor

            any need for any. Ganieva wanted the money; in fact, she wanted more. The recordings make

            clear that Ganieva was pleased with the arrangement. After agreeing to accept millions of dollars




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            in exchange for not speaking publicly about their affair, she discussed her investment and travel

            plans, and laughed about the fact that she was “a woman of means now.” Answer ¶ 40. Shortly

            after the meeting in which they entered into the Agreement, she texted Plaintiff: “[t]hank you for

            everything. Talk soon xoxo.” Id. ¶ 41.

                   75.     In Plaintiff’s original Answer, filed on July 19, 2021, Plaintiff quoted all of the

            relevant language of the parties’ Agreement—specifically the full text of its release and non-

            disclosure provisions.

                   76.     Yet, faced with the clear falsity of the complaint they filed and with the clear terms

            of the Agreement, on August 9, 2021, Ganieva and Wigdor filed an Amended Complaint almost

            twice as long as the original, complete with all of the allegations whose falsity had been

            demonstrated and was now consciously avoided. See Am. Compl., Ganieva v. Black, No.

            155262/2021 (N.Y. Sup. Ct. Aug. 9, 2021) (“Am. Compl.”). The newly added allegations focused

            almost entirely on Jeffrey Epstein, who was barely mentioned in the Original Complaint. Ganieva

            did not assert any new legal claims premised on these allegations, and indeed the newfound

            allegations regarding Epstein appear nowhere in any of the actual Causes of Action asserted in any

            iteration of Ganieva’s complaints.

                   77.     In her Amended Complaint, Ganieva—with Wigdor’s assistance, encouragement

            and at its inducement—again breached the Agreement provisions regarding confidentiality and

            waiver. In addition to all of her previous false allegations, she now alleged being kidnapped by

            Black in October 2008, flown against her will to Palm Beach, Florida on Black’s private plane,

            taken to Epstein’s home there, and coerced into a meeting with Epstein, Black, and one of Epstein’s

            associates, Sarah Kellen, for the supposed (but never articulated) purpose of gratifying Epstein’s

            sexual desire. Am. Compl. ¶¶ 75-108. During that meeting, Kellen supposedly told Ganieva that

            Epstein and Black were “sex addicts.” Id. ¶ 97. Although the Amended Complaint contained


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            boldfaced, block-text quotations supposedly from Kellen, it identified no documentation,

            recordings, or other memorialization of the alleged conversation between Ganieva and Kellen

            some 13 years ago. Id. And, just like the block quotes wrongly attributed to Black, on information

            and belief, the alleged quotations from Kellen are fabrications.

                   78.     Black’s Answer to the Amended Complaint (Answer to Am. Compl., Ganieva v.

            Black, No. 155262/2021 (N.Y. Sup. Ct. Sept. 8, 2021)), conclusively debunked Ganieva’s new

            lies. Black used flight manifests to establish that he and Ganieva never took the same-day round

            trip flight to Florida in October 2008 that is described in the Amended Complaint. Moreover, the

            contemporaneous recordings of Black and Ganieva from the summer of 2015, shortly after she

            began extorting him, call into serious question the Amended Complaint’s allegation that Ganieva

            ever even met Epstein, let alone that their meeting was the result of a kidnapping by Black.

                   79.     Despite facing documentary evidence that the additional allegations in the

            Amended Complaint were fabricated, on September 20, 2021, Wigdor sought permission to file

            yet another complaint, adding even more new lies to the old ones. See Second Amended Compl.,

            Ganieva v. Black, No. 155262/2021 (N.Y. Sup. Ct. Sept. 20, 2021) (“Second Am. Compl.”). This

            pleading too violated the confidentiality and waiver provisions of the Agreement, and was filed

            with Wigdor’s assistance and encouragement and at its inducement. The new round of gratuitous

            allegations included a tale of an assault of another, unnamed woman at Epstein’s Manhattan home

            some two decades ago for which the woman was supposedly paid $5,000. Id. ¶¶ 51-85. It also

            included an entire section labeled, “Other Evidence of Black’s Close Ties to Epstein’s Private

            Conduct,” id. ¶¶ [145-50. The causes of action remained unchanged since the Original Complaint,

            except for the addition of a claim for “retaliation” under the GMVA, which Wigdor and Ganieva

            made up out of whole cloth.




                                                            22New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
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                      80.   On November 12, 2021, Black produced, under an embargo agreement between the

            parties, a copy of the Agreement and transcripts of all of the recordings cited in Black’s Answers.

            As of that moment, there can be no doubt that Wigdor and Ganieva knew the exact language of the

            Agreement and that it prohibited their lawsuit. They also knew that a significant number of the

            allegations that they made in their Complaints, including some of the purported quotes that they

            attribute to Black, were objectively and demonstrably false. Despite this, they took no action to

            withdraw or correct their pleadings.

                      81.   Wigdor’s conduct was malicious and done in bad faith in that Wigdor publicly

            smeared Black despite knowing that Ganieva’s claims were prohibited by the Agreement. Wigdor

            continued to pursue and ultimately to file false allegations against Black, even after it knew the

            allegations were demonstrably false.

                      82.   On its website, Wigdor trumpets its involvement in Ganieva’s case as “the epitome

            of why #MeToo exists.” #MeToo does not exist to turn a sporadic, consensual affair into a nine

            figure pay off, enforced through threats of personal and professional destruction, which is precisely

            what Guzel Ganieva has tried to do. This case is the epitome of how the #MeToo movement can

            be hijacked and abused. That is not what #MeToo is about.

                                                      COUNT ONE
                                          (Breach of Contract Against Ganieva)

                      83.   Plaintiff repeats and realleges the allegations in paragraphs 1-82 as if fully set forth

            herein.

                      84.   Plaintiff and Ganieva entered into the Agreement on October 19, 2015.

                      85.   The Agreement is a valid, binding, and enforceable contract between Plaintiff and

            Ganieva. As the recorded conversations make clear, Ganieva was under no duress in signing the




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            Agreement, and indeed was pleased to have entered into it. Ganieva ratified the Agreement by

            accepting payments totaling $9.2 million over a period of more than five years.

                     86.   Under their Agreement, Plaintiff agreed to: forgive two loans of $480,000 that he

            had made to Ganieva that had been accruing interest at 5% per annum for two and four years,

            respectively; make a simultaneous payment to Ganieva of $100,000; and provide Ganieva with

            “other consideration,” which Plaintiff and Ganieva agreed that day would consist of £2 million

            to secure Ganieva a United Kingdom visa, as well as payments of $100,000 a month for 15

            years.

                     87.   In exchange, Ganieva agreed to release Plaintiff from “all matters, causes of action,

            claims, suits and any and all further liability or accountability, in law or equity, by reason of any

            matter, cause or thing whatsoever arising prior to the signing of this Agreement,

            contemporaneous with the signing of this Agreement or any time in the future after the signing of

            this Agreement.”

                     88.   Ganieva further agreed “never to disclose, directly or indirectly, to any

            individual, entity or other potential recipient, any information relating to (i) the allegations and

            claims that she has asserted against [Plaintiff], (ii) the signing, content or other attributes of this

            Agreement, including any consideration furnished by [Plaintiff] in connection with the signing of

            this Agreement and (iii) any other matters that could damage [Plaintiff’s] career, reputation and

            relationship with others.”

                     89.   Ganieva took her time reading the document, reading some of it aloud, and asking

            questions as to its meaning, particularly with respect to the confidentiality clause. She laughed

            about the fact that she was now “a woman of means,” and shortly after signing, thanked Plaintiff.




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                      90.   Plaintiff faithfully performed under the Agreement for more than five years, from

            October 2015 through March 2021.

                      91.   Ganieva never repudiated or sought to rescind the Agreement. To the contrary, she

            ratified the Agreement by accepting monthly payments of $100,000, including while attending law

            school, and while represented by counsel. She continued to ratify the contract during and

            following the fall of 2020 even as she and Wigdor were discussing her false and disparaging

            allegations against Black with journalists and revealing information regarding Black, in plain

            violation of the Agreement.

                      92.   On March 17, 2021, Ganieva breached the nondisclosure provision of the

            Agreement by publicly tweeting that Plaintiff had “sexually harassed and abused” her for years

            and that she “was forced to sign an NDA in 2015.”

                      93.   On June 1, 2021, Ganieva breached the release provision of the Agreement by filing

            her Original Complaint and commencing a lawsuit against Black in New York Supreme Court,

            and subsequently by filing amended complaints.

                      94.   Ganieva separately and independently breached the Agreement on other occasions

            detailed herein, including by making or authorizing the statements and legal claims in the court

            filings and press statements pleaded herein.

                      95.   By breaching the Agreement, Ganieva caused Plaintiff damages, including, but not

            limited to, forcing his resignation from Apollo, depriving him of the considerable financial benefits

            he would have received as CEO until July and as Chairman going forward.

                                                     COUNT TWO
                                          (Unjust Enrichment Against Ganieva)

                      96.   Plaintiff repeats and realleges the allegations in paragraphs 1-82 as if fully set forth

            herein.



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                    97.     Pursuant to the Agreement, Plaintiff paid Ganieva at least $9,251,084.00 from

            October 2015 through March 2021.

                    98.     Ganieva was enriched by these payments at Plaintiff’s expense.

                    99.     Ganieva willfully broke the terms of the Agreement, depriving Plaintiff of what he

            had bargained for—that is, Ganieva’s silence as to their sexual relationship and the resolution of

            their agreement.

                    100.    It contravenes equity and good conscience for Ganieva to be allowed to keep the

            money that she extorted from Black after breaking the terms of their Agreement.

                    101.    This count is brought in the alternative to Count One of this Complaint in the event

            that the Agreement is found to be void.

                                                   COUNT THREE
                                 (Tortious Interference with Contract against Wigdor)

                    102.    Black repeats and re-alleges the allegations in paragraphs 1 through 82 as if fully

            set forth herein.

                    103.    The Agreement is a valid and enforceable contract between Black and Ganieva.

                    104.    Upon information and belief, Wigdor knew of the existence of the Agreement at all

            relevant times, and has been in possession of a copy of the Agreement since at least November

            2021 (and of the relevant language since July 2021 when Black filed his original Answer in the

            case brought by Ganieva).

                    105.    Upon information and belief, knowing that its client had signed an agreement with

            Black that released her claims and promised confidentiality—as every agreement of this kind does,

            something Wigdor knows because it has drafted and litigated countless such agreements—Wigdor

            induced and encouraged Ganieva to repeatedly breach that contract, including by speaking with

            the press in November 2020 about her false allegations, publishing her tweets in March of 2021,



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            speaking with a reporter about her false allegations in April 2021, and by filing three complaints

            against Black containing those same false allegations.

                    106.   Wigdor’s conduct was the proximate cause and the but-for cause of Ganieva’s

            breaches of the Agreement.        Wigdor intentionally, improperly, and without justification

            encouraged and induced her to make false public statements about Black, her relationship with

            Black, her financial arrangement with Black, and false allegations of abuse, in violation of the

            confidentiality provision of the Agreement. Wigdor also schemed to ensure that a New York Times

            reporter would be ready and waiting to report on Ganieva’s public statements on Twitter, intending

            that his prominent position would amplify the reach and harmful effects of her tweets.

                    107.   Wigdor further encouraged, induced, and facilitated Ganieva’s breach of the release

            provision of the Agreement by instituting and maintaining a baseless lawsuit against Black

            containing false allegations about Black, Ganieva’s relationship with Black, and her agreement

            with Black.

                    108.   As described in detail herein, Wigdor’s tortious interference with contract was

            malicious, in bad faith, and motivated by a self-interested desire to obtain an undeserved financial

            windfall by publicly smearing Black’s reputation and pressuring him into settling a baseless

            lawsuit.

                    109.   Wigdor’s conduct went beyond the scope of its legitimate role as Ganieva’s

            attorneys, and indeed Wigdor undertook many of its tortious actions before it even represented

            Ganieva.

                    110.   Wigdor’s tortious interference with contract caused, and continues to cause,

            financial loss and damage to Black, for which Wigdor must compensate Black in an amount to be

            determined at trial.




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                      111.   In addition, because of the wanton, willful, and malicious nature of the foregoing

            wrongful conduct, done with reckless disregard for Black’s rights, Black is also entitled to recover

            punitive damages.


                                                 PRAYER FOR RELIEF

                             WHEREFORE, Plaintiff hereby requests judgment against Defendants as follows:

                (a)      Enter judgment on the claims in Black’s favor;

                (b)      Award Black damages, in an amount to be determined at trial, plus prejudgment

                         interest, to compensate Black for all monetary and/or economic damages;

                (c)      Award Black damages for any and all other monetary and/or non-monetary losses

                         suffered by him, including, but not limited to, loss of income and related harm, in an

                         amount to be determined at trial, plus prejudgment interest;

                (d)      Award punitive damages for Defendants’ gross wanton, malicious, and outrageous

                         misconduct in an amount to be determined at trial;

                (e)      Award attorneys’ fees, costs, and disbursements incurred as a result of this action; and

                (f)      Award such other, further, and different relief as the Court may deem just and proper.

                                                     JURY DEMAND

                             Plaintiff Leon Black hereby demands a trial by jury on all issues.

            Dated: October 31, 2022                            Respectfully submitted,
                   New York, New York


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